    Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 1 of 26




 
 
 
 
 
 
 
                    EXHIBIT 1 
                                 Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 2 of 26




                     1     Margaret T. McCarthy, #020882
                           RENAUD COOK DRURY MESAROS, PA
                     2     One North Central, Suite 900
                           Phoenix, Arizona 85004-4417
                     3     Telephone: (602) 307-9900
                           Facsimile: (602) 307-5853
                     4
                           E-mail: docket@rcdmlaw.com
                     5             mmccarthy@rcdmlaw.com
                     6     Attorneys for Defendant Arizona CVS
                           Stores, LLC (Improperly pled as CVS
                     7     Health a/k/a CVS Pharmacy, Inc.)
                     8
                                         IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                     9
                                                     IN AND FOR THE COUNTY OF MARICOPA
                    10
                           CHARLES CROUCH,                                           No. CV2016-055020
                    11
                                                         Plaintiff,               NOTICE OF REMOVAL
                    12
                           v.                                                     (Assigned to the Honorable
                    13                                                                  John Hannah)
                           CVS HEALTH a/k/a CVS PHARMACY,
                    14     INC.,
                    15                                   Defendant.
                    16
                    17             Please take notice that on February 6, 2017, Defendant Arizona CVS Stores, LLC
                    18     (Improperly pled as CVS Health a/k/a CVS Pharmacy, Inc.) filed its Notice of Removal in
                    19     the United States District Court for the District of Arizona. The Notice of Removal effects
                    20     the removal, and the state court shall proceed no further unless and until the case is
                    21     remanded. 28 U.S.C. §1446(d). The Notice of Removal filed is attached as Exhibit “A.”
                    22     ///
                    23     ///
                    24     ///
                    25
                    26
      LAW OFFICES
 RENAUD COOK
DRURY MESAROS
  ONE NORTH CENTRAL
       SUITE 900
   PHOENIX, AZ 85004
TELEPHONE (602) 307-9900
                           (Page 1, CV2016-055020)                    3076-0047                                3381358v1
FACSIMILE (602) 307-5853
                               Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 3 of 26




                     1            RESPECTFULLY SUBMITTED this 6th day of February, 2017.
                     2
                                                                   RENAUD COOK DRURY MESAROS, PA
                     3
                     4                                             By /s/ Margaret T. McCarthy
                     5                                                Margaret T. McCarthy
                                                                      One North Central, Suite 900
                     6                                                Phoenix, Arizona 85004-4417
                                                                     Attorneys for Defendant Arizona CVS Stores,
                     7                                               LLC (Improperly pled as CVS Health a/k/a CVS
                                                                     Pharmacy, Inc.)
                     8
                           ORIGINAL of the foregoing
                     9     ELECTRONICALLY filed this 6th day
                    10     of February, 2017.

                    11     A COPY of the foregoing also sent via
                           U.S. Mail on this same date to:
                    12     Bradley S. Shelts
                    13     Titus Brueckner & Levine, PLC
                           8355 East Hartford Drive
                    14     Suite 200
                           Scottsdale, AZ 85255
                    15
                    16     /s/ Laurie Bergantino

                    17
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                    25
                    26
      LAW OFFICES
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DRURY MESAROS
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                                Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 4 of 26




                           1   Margaret T. McCarthy, #020882
                               RENAUD COOK DRURY MESAROS, PA
                           2   One North Central, Suite 900
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                           3   Telephone: (602) 307-9900
                               Facsimile: (602) 307-5853
                           4   mmccarthy@rcdmlaw.com
                               Attorneys for Defendant Arizona CVS
                           5   Stores, LLC (Improperly pled as CVS Health
                               a/k/a CVS Pharmacy, Inc.)
                           6
                                                     IN THE UNITED STATES DISTRICT COURT
                           7
                                                          FOR THE DISTRICT OF ARIZONA
                           8
                               Charles Crouch,
                           9
                                                            Plaintiff,       Docket No.____________________
                     10
                               v.
                     11
                               CVS Health a/k/a CVS Pharmacy, Inc.,              DECLARATION OF ATTORNEY
                     12                                                           MARGARET T. MCCARTHY
                                                            Defendant.
                     13
                     14                   I, MARGARET T. MCCARTHY, declare as follows pursuant to 28 U.S.C. §1746:
                     15                   1.    I am a duly licensed attorney in the bar of the State of Arizona and am
                     16        admitted to practice law before this Court. I represent defendant Arizona CVS Stores,
                     17        LLC (Improperly pled as CVS Health a/k/a CVS Pharmacy, Inc.) (“Defendant”) in the
                     18        above-referenced action. The statements made in this Declaration are based upon my
                     19        own personal knowledge and, if sworn as a witness, I could testify competently to them.
                     20                   2.    I have prepared and filed the Notice of Removal on behalf of Defendant in
                     21        the above-referenced action. Exhibit A to that Notice of Removal contains true and
                     22        complete copies of all pleadings and other documents filed in the underlying state court
                     23        action of Crouch v. CVS Health a/k/a CVS Pharmacy, Inc., Case No. CV 2016-055020,
                     24        in the Superior Court of Maricopa County, Arizona.
                     25
                     26
      LAW OFFICES
 RENAUD COOK
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  ONE NORTH CENTRAL
       SUITE 900
   PHOENIX, AZ 85004           (Page 1)                                   3076-0047                        3397275v1
TELEPHONE (602) 307-9900
FACSIMILE (602) 307-5853
                               Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 5 of 26




                           1              I declare under penalty of perjury that the foregoing is true and correct.
                           2              RESPECTFULLY SUBMITTED this 6th day of February, 2017.
                           3                                                 RENAUD COOK DRURY MESAROS, PA
                           4
                           5
                                                                             By /s/ Margaret T. McCarthy
                           6                                                    Margaret T. McCarthy
                                                                                One North Central, Suite 900
                           7                                                    Phoenix, Arizona 85004-4417
                                                                                Attorneys for Defendant Arizona CVS
                           8                                                    Stores, LLC (Improperly pled as CVS Health
                                                                                a/k/a CVS Pharmacy, Inc.)
                           9
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      LAW OFFICES
 RENAUD COOK
DRURY MESAROS
  ONE NORTH CENTRAL
       SUITE 900
   PHOENIX, AZ 85004           (Page 2)                                      3076-0047                           3397275v1
TELEPHONE (602) 307-9900
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                  Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 6 of 26




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Civil Court Case Information - Case History

                                                           Case Information
Case Number:      CV2016-055020               Judge:      Hannah, John
File Date:        12/9/2016                   Location:   Northeast
Case Type:        Civil


                                                           Party Information
Party Name                                        Relationship               Sex    Attorney
Charles Crouch                                    Plaintiff                  Male   Bradley Shelts
C V S Health                                      Defendant                         Pro Per
C V S Pharmacy Inc                                Defendant                         Margaret McCarthy
C V S Stores L L C                                Defendant                         Margaret McCarthy


                                                           Case Documents
Filing Date     Description                                              Docket Date           Filing Party
1/26/2017       ANS - Answer                                             1/26/2017
NOTE: DEFENDANT ARIZONA CVS STORES, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT-EFILE BILLING $237.00
1/26/2017       CCA - Cert Compulsory Arbitration                        1/26/2017
NOTE: DEFENDANT ARIZONA CVS STORES, LLC’S CERTIFICATE REGARDING COMPULSORY ARBITRATION
1/26/2017       NJT - Not Demand For Jury Trials                         1/26/2017
NOTE: DEFENDANT ARIZONA CVS STORES, LLC’S DEMAND FOR JURY TRIAL
1/9/2017        AFS - Affidavit Of Service                               1/11/2017
NOTE: CVS PHARMACY INC
12/9/2016       COM - Complaint                                          12/13/2016
12/9/2016       CCN - Cert Arbitration - Not Subject                     12/13/2016
12/9/2016       CSH - Coversheet                                         12/13/2016
12/9/2016       NJT - Not Demand For Jury Trials                         12/13/2016


                                                            Case Calendar
There are no calendar events on file


                                                                 Judgments
There are no judgments on file
Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 7 of 26
       Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 8 of 26
                                                                         Service of Process
                                                                         Transmittal
                                                                         01/06/2017
                                                                         CT Log Number 530450684
TO:      Serviceof Process
         CVS Pharmacy, Inc.
         1 Cvs Dr, Mail Code 1160
         Woonsocket, RI 02895-6195

RE:      Process Served in Arizona
FOR:     CVS Pharmacy, Inc. (Domestic State: RI)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  Charles Crouch, Pltf. vs. CVS Health a/k/a CVS Pharmacy, Inc., Dft.
DOCUMENT(S) SERVED:               Summons, Certificate, Demand, Complaint,
COURT/AGENCY:                     Maricopa County - Superior Court, AZ
                                  Case # CV2016055020
NATURE OF ACTION:                 Product Liability Litigation - Manufacturing Defect - Peridex Oral
ON WHOM PROCESS WAS SERVED:       C T Corporation System, Phoenix, AZ
DATE AND HOUR OF SERVICE:         By Process Server on 01/06/2017 at 09:00
JURISDICTION SERVED :             Arizona
APPEARANCE OR ANSWER DUE:         Within 20 days after service, exclusive of the day of service
ATTORNEY(S) / SENDER(S):          Bradley S. Shelts
                                  Tititus Brueckner & Levine PLC
                                  8355 East Hartford Drive, Suite 200
                                  Scottdale, AZ 85225
                                  480-483-9600
ACTION ITEMS:                     CT has retained the current log, Retain Date: 01/06/2017, Expected Purge Date:
                                  01/11/2017

                                  Image SOP

                                  Email Notification, Serviceof Process Service_of_Process@cvs.com

SIGNED:                           C T Corporation System
ADDRESS:                          3800 N Central Avenue
                                  Suite 460
                                  Phoenix, AZ 85012
TELEPHONE:                        602-248-1145




                                                                         Page 1 of 1 / RV
                                                                         Information displayed on this transmittal is for CT
                                                                         Corporation's record keeping purposes only and is provided to
                                                                         the recipient for quick reference. This information does not
                                                                         constitute a legal opinion as to the nature of action, the
                                                                         amount of damages, the answer date, or any information
                                                                         contained in the documents themselves. Recipient is
                                                                         responsible for interpreting said documents and for taking
                                                                         appropriate action. Signatures on certified mail receipts
                                                                         confirm receipt of package only, not contents.
                   Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 9 of 26



                                                  ORIGINAL
 1     Bradley S. Shelts (Bar No. 028206)
       TITUS BRUECICNER & LEVINE PLC
 2     8355 East Hartford Drive, Suite 200
       Scottsdale, Arizona 85255
 3     (480) 483-9600
       bshelts@tbl-law.com
 4     Attorneys for Plaintif
 5
                        IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 6
                               IN AND FOR THE COUNTY OF MARICOPA
 7
      CHARLES CROUCH,                                      Case No:
 8
                             Plaintiff,                                CV2016-055020
 9
                                                           SUMMONS
10
              V.
11                                                              If ydy wdulF2Ilike legal advice from a lawyer,
      CVS HEALTH a/k/a CVS PHARMACY,                                Contact the Lawyer Referral Service at
12    INC.,                                                                     602-257-4434
                                                                                      or
13                                                                        www.maricooalawvers.org
                             Defendant.                                       Sponsored by the
                                                                      IVlaricopa County Bar Association
14
15
      FROM THE STATE OF ARIZONA TO: CVS HEALTH a/k/a CVS PHARMACY, INC.
16                                                                                ,SO.I.g...••••••••••••••••




.17
               YOU ARE HEREBY SUMMONED and required to appear and defend, within the time
18     applicable, in this action in this Court. If served within Arizona, you shall appear and defend
19     within 20 days after the service of the Summons and Complaint upon you, exclusive of the day
       of service. If served out of the State of Arizona — whether by direct service, by registered or
20     certified mail, or by publication — you shall appear and defend within 30 days after the service
21     of the Summons and Complaint upon you is complete, exclusive of the day of service. Where
       process is served upon the Arizona Director of Insurance as an insurer's attorney to receive
22     service of legal process against it in this state, the insurer shall not be required to appear, answer
       or plead until expiration of 40 days after date of such service upon the Director. Service by
23     registered or certified mail without the State of Arizona is complete 30 days after the date of
24    •filing the receipt and affidavit of service with the -Court. Servia' by pithlidation is coinPlete 30
       days after the date of first publication. Direct service is complete when made. Service upon the
25     Arizona Motor Vehicle Superintendent is complete 30 days after filing the Affidavit of
       Compliance and return receipt or Officer's Return. Ariz. R. Civ. Proc. 4; A.R.S. §§ 20-222, 28-
26
       502, 28-503.
             Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 10 of 26




 1          YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend
     within the time applicable, judgment by default may be rendered against you for the relief
 2
     requested in the Complaint.
 3
            YOU ARE CAUTIONED that in order to appear and defend, you must file an Answer
 4   or proper response in writing with the Clerk of this Court, accompanied by the necessary filing
 5   fee, within the time required, and you are required to serve a copy of any Answer or response
     upon the Plaintiffs' attorney. Ariz. R. Civ. Proc. 5 and 10(d); A.R.S. § 12-311.
 6
            Requests for reasonable accommodation for persons with disabilities must be made to the
 7
     office of the judge or commissioner assigned to the case, at least ten (10) judicial days before
 8   your scheduled court date.
 9          Requests for an interpreter for person(s) with limited English proficiency must be made
10   to the office of the judge or commissioner assigned to the case by the party needing the
     interpreter and/or translator or his/her counsel at least ten (10) judicial- days in advance of a
11   scheduled court date.                    DEC 0 9 2016
12                                                               MICHAEL K JEANES, CLERK
           SIGNED AND SEALED this
13                                                                 CLERK OF COURT

14
15
16
17
18
                                                                          T. SHEPARDSON
19
20
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24
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                                                    2
             Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 11 of 26

                                                                            COPY
                                                                            DEC 0 9 2016

                                                                            MICHAEL K. JEANES, CLERK
     Bradley S. SheIts (Bar No. 028206)                                         T. SHEPARDSON
     TITUS BRUECICNER & LEVINE PLC                                              DEPUTY CLERK
2    8355 East Hartford Drive, Suite 200
     Scottsdale, Arizona 85255
3    (480) 483-9600
     bshelts@tbl-law.com
4    Attorneys for Plaintiff
 5
6
7                  IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 8                          IN AND FOR THE COUNTY OF MARICOPA
9 CHARLES CROUCH,                                      Case No:     CV2016-055020
10                       Plaintiff,
                                                       COMPLAINT
11
12          V.

13   CVS HEALTH a/k/a CVS PHARMACY,
     INC.,
14
                         Defendant.
15
16
            Plaintiff Charles Crouch ("Plaintiff"), by and through undersigned counsel, for his
17
18   Complaint against Defendant CVS Health a/k/a CVS Pharmacy, Inc. ("Defendant") states as

19   follows:
20
                              PARTIES. JURISDICTION AND VENUE
21
     1.     This is a negligence case arising from Defendant's mislabeling of medication prescribed
22
23   and delivered to Plaintiff which caused Plaintiff to suffer permanent physical and emotional

24   injuries.
25
     2.     Plaintiff is a resident of Maricopa County, State of Arizona.
26
            Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 12 of 26




 1   4.     The acts of Defendant alleged herein were committed in Maricopa County, State of

2 Arizona.
3
   5.   This Court has jurisdiction over the parties and the subject matter of this action, and
4
 5   venue is properly lodged.

 6                                       FACTUAL SUMMARY
 7
            Plaintiff incorporates by reference as though fully set forth herein the allegations set for
 8
     in paragraphs 1 through 5 above.
 9
10   7.     On or about December 15, 2014, Plaintiff was prescribed by his dentist, Dr. Sibera T.

11   Brannon ("Dr. Brannon"), to use Peridex oral rinse medication.
12
     8.     On or about December 16, 2014, Plaintiff had the prescription filled at Defendant's CVS
13
     Store #9314 located in Phoenix, Arizona.
14
15   9.     Dr. Brannon's prescription instructed Defendant that Plaintiff was to use the Peridex

16 rinse for 30 seconds twice a day. However, Defendant mislabeled the Peridex bottle delivered
17   to Plaintiff, and negligently instructed Plaintiff to use the Peridex rinse for 30 minutes twice a
18
     day.
19
     10. Plaintiff followed the directions on the label provided by Defendant and attempted to
20
21   rinse the medication in his mouth for 30 minutes twice daily.
22          Plaintiff discontinued use of the medication after approximately 1 week of following
     11.
23
     Defendants-instructions:-Plaintiffceased-use- ofthe medication-because-he-was-suffering-severe
24
     pain and sores in his mouth and loss of taste.
25
26

                                                      2
it   •
                    Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 13 of 26




         1    12.    The sores in Plaintiff's mouth healed after he stopped using the Peridex, but his sense of
         2
              taste never returned.
         3
                                                   CLAIM FOR RELIEF
         4                                             Negligence
          5
              13.    Plaintiff incorporates by reference as though fully set forth herein the allegations set forth
         6
              in paragraphs 1 through 12 above.
          7
              14.    Defendant had a duty to properly fill the prescription, label the bottle, and provide to
          9   Plaintiffthe correct instructions for use of the Peridex as prescribed by Dr. Brannon.
         10
              15.    Defendant Was negligent by improperly labeling the Peridex bottle thereby .instructing
         11
              Plaintiff to misuse the product. Defendant's negligence caused Plaintiff to suffer severe and
         12
         13   permanent physical and emotional injuries.
         14                                       RELIEF REQUESTED
         15
                     WHEREFORE, Plaintiff requests that this Court enter judgment in his favor and against
         16
              Defendant as follows:
         17
         18          a.     For Plaintiff's damages including but not limited to medical bills, past and future

         19   pain, suffering, aggravation, mental distress, medical treatment, and permanent injuries;
         20
                     b.     For Plaintiffs' court costs incurred herein;
         21
                     c.     For interest on the judgment at the highest rate allowed by law; and
         22
         23          d.     For such other and further relief as the Court deems just and proper.

         24
         25
         26

                                                               3
      Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 14 of 26




 1    RESPECTFULLY SUBMITTED this 9th day of December, 2016.
 2                                        TITUS BRUEC           EVINE PLC

 3
 4
 5                                        Bradley S.
                                          8355 East H ord Drive, Suite 200
 6                                        Scottsdale, Arizona 85255
                                          Attorneys for Plaintiff
 7
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            Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 15 of 26




     Bradley S. Shelts (Bar No. 028206)
     TITUS BRUECKNER & LEVINE PLC                                              DEC 0 9 2016
2    8355 East Hartford Drive, Suite 200
                                                                                WIC_ IC. JEANES, CLERK
     Scottsdale, Arizona 85255                                                         SVAEP ARDSON
3    (480) 483-9600                                                                  DEPUIN CLERK
4
     bshelts@tbl-law.com
     Attorneys for Plaintiff
 5
                    IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
6
                               IN AND FOR THE COUNTY OF MARICOPA
 7
     CHARLES CROUCH,                                    Case No:        CV2016-055020
8
9                        •Plaintiff,
                                                        PLAINTIFF'S DEMAND FOR JURY
10                                                      TRIAL
            v.
11
     CVS HEALTH anda CVS PHARMACY,
12   INC.,
13                        Defendant.
14
15          Pursuant to Rule 38(b), Ariz.R.Civ.P., Plaintiff, by and through his undersigned counsel,
16   hereby demands a jury trial on all issues in the above-entitled action.
17
18          RESPECTFULLY SUBMITTED this q1L"day of December, 2016.
                                                       TITUS Blp
                                                             RU  & LEVINE PLC
19
20
21                                                            AOAIL
                                                      Bradlenrw
22                                                    8355 Ea,!4) artford Drive, Suite 200
                                                      Scottsd     Arizona 85255
23                                                  . Attorneys for Plaintiff
24
25
26
            Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 16 of 26




1    Bradley S. Shelts (Bar No. 028206)
     TITUS BRUECICNER & LEVINE PLC                                             DEC 0 9 2016
2    8355 East Hartford Drive, Suite 200
     Scottsdale, Arizona 85255                                                 MICHAEL K. JEANES, CLERK
3    (480) 483-9600                                                                T. SHEPARDSON
     bshelts@tbl-law.com                                                           DEPUTY CLERK
4    Attorneys for Plaintiff
 5
                    IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
6
                             IN AND FOR THE COUNTY OF MARICOPA
 7
     CHARLES CROUCH,                                     Case No:
 8                                                                        CV2016-055020
                          Plaintiff,
 9                                                        CERTIFICATE OF COMPULSORY
10                                                        ARBITRATION (NOT SUBJECT)
            V.
11
     CVS HEALTH a/k/a CVS PHARMACY,
12   INC.,
13                        Defendant.
14          The undersigned certifies that he knows the dollar limits and any other limitations set
15   forth by the local rules of practice for the applicable superior Court, and further certifies that this
16   case is NOT subject to compulsory arbitration as provided by Rules 72 through 77 of the
17   Arizona Rules of Civil Procedure..
18                                       th
            RESPECTFULLY SUBMITTED this 9 day of December,
19                                                      TITUS BRUEC ER & EVINE PLC

20
21
22                                                      Bradley S. Shelt
                                                        8355 East Hartf Drive, Suite 200
23                                                      Scottsdale, Arizona 85255
                                                        Attorneys for Plaintiff
24
25
26
                                                                                                 Michael K Jeanes, Clerk of Court
                                Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 17
                                                                                        *** of 26
                                                                                            Electronically Filed ***
                                                                                                         K. Dyer, Deputy
                                                                                                     1/26/2017 11:04:00 AM
                                                                                                        Filing ID 8049768




                     1     Margaret T. McCarthy, #020882
                           RENAUD COOK DRURY MESAROS, PA
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                     3     Telephone: (602) 307-9900
                           Facsimile: (602) 307-5853
                     4
                           E-mail: docket@rcdmlaw.com
                     5             mmccarthy@rcdmlaw.com
                     6     Attorneys for Defendant Arizona CVS
                           Stores, LLC (Improperly pled as CVS
                     7     Health a/k/a CVS Pharmacy, Inc.)
                     8                   IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                     9                               IN AND FOR THE COUNTY OF MARICOPA
                    10     CHARLES CROUCH,                                            No. CV2016-055020
                    11                                   Plaintiff,               DEFENDANT ARIZONA CVS
                                                                                  STORES, LLC’S ANSWER TO
                    12     v.                                                      PLAINTIFF’S COMPLAINT
                    13     CVS HEALTH a/k/a CVS PHARMACY,                           (Assigned to the Honorable
                           INC.,                                                          John Hannah)
                    14
                                                         Defendant.
                    15
                    16             Defendant Arizona CVS Stores, LLC (Improperly pled as CVS Health a/k/a CVS
                    17     Pharmacy, Inc.) (hereinafter “defendant”) by and through counsel undersigned, for its
                    18     Answer to plaintiff’s Complaint, hereby admits, denies and alleges as follows:
                    19                                PARTIES, JURISDICTION AND VENUE
                    20             1.     Defendant denies the allegations contained in paragraph 1 of plaintiff’s
                    21     Complaint.
                    22             2.     Defendant neither admits nor denies the allegations contained in paragraph 2 of
                    23     plaintiff’s Complaint, as it is without sufficient knowledge or information to form a belief as
                    24     to the truth of the matters asserted.
                    25             4. [sic] Defendant neither admits nor denies the allegations contained in paragraph 4
                    26     [sic] of plaintiff’s Complaint, as it is without sufficient knowledge or information to form a
      LAW OFFICES
 RENAUD COOK
DRURY MESAROS
  ONE NORTH CENTRAL
       SUITE 900
   PHOENIX, AZ 85004
TELEPHONE (602) 307-9900
                           (Page 1, CV2016-055020)                    3076-0047                                  3381388v1
FACSIMILE (602) 307-5853
                               Case 2:17-cv-00397-DGC Document 1-1 Filed 02/06/17 Page 18 of 26




                     1     belief as to the truth of the matters asserted. To the extent that the allegations set forth in this
                     2     paragraph infer negligent, tortious, contractual or other wrongdoing on the part of this
                     3     defendant, the defendant denies those allegations.
                     4            5.      Defendant admits that jurisdiction and venue are likely proper.
                     5                                         FACTUAL SUMMARY
                     6            6.      Defendant incorporates by reference all of its responses as set forth in
                     7     paragraphs 1-5 above by this reference as though fully set forth herein.
                     8            7.      Defendant denies the allegations contained in paragraph 7 of plaintiff’s
                     9     Complaint and alleges that plaintiff’s medical records speak for themselves.
                    10            8.      Defendant denies the allegations contained in Paragraph 8 of plaintiff’s
                    11     Complaint and alleges that plaintiff’s medical records speak for themselves.
                    12            9.      Defendant denies the allegations contained in Paragraph 9 of plaintiff’s
                    13     Complaint.
                    14            10.     Defendant neither admits nor denies the allegations contained in paragraph 10
                    15     of plaintiff’s Complaint, as it is without sufficient knowledge or information to form a belief
                    16     as to the truth of the matters asserted.
                    17            11.     Defendant neither admits nor denies the allegations contained in paragraph 11
                    18     of plaintiff’s Complaint, as it is without sufficient knowledge or information to form a belief
                    19     as to the truth of the matters asserted.
                    20            12.     Defendant neither admits nor denies the allegations contained in paragraph 12
                    21     of plaintiff’s Complaint, as it is without sufficient knowledge or information to form a belief
                    22     as to the truth of the matters asserted.
                    23                                         CLAIM FOR RELIEF
                    24                                                Negligence
                    25            13.     Defendant incorporates by reference all of its responses as set forth in
                    26     paragraphs1-12 above by this reference as though fully set forth herein.
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                     1            14.     The statement of legal duties in paragraph 14 of plaintiff’s Complaint contains
                     2     legal conclusions that do not require admission or denial. This defendant further states that
                     3     to the extent that it owed a duty to any person, it fulfilled such duty. Defendant denies the
                     4     remaining allegations contained in this paragraph of plaintiff’s Complaint.
                     5            15.     Defendant denies the allegations contained in paragraph 15 of plaintiff’s
                     6     Complaint.
                     7                                           MISCELLANEOUS
                     8            Defendant denies each and every allegation of plaintiff’s Complaint not expressly
                     9     admitted herein.
                    10                                      AFFIRMATIVE DEFENSES
                    11            1.      Plaintiff was comparatively negligent, and, therefore, any recovery must be
                    12     denied or reduced accordingly.
                    13            2.      Plaintiff failed to act with due care.
                    14            3.      Plaintiff assumed the risk of injury, and recovery, if any, must be denied.
                    15            4.      Plaintiff was cognizant and aware of all the facts, circumstances, and
                    16     conditions existing and consented to, permitted, acquiesced, and actively encouraged or
                    17     voluntarily assumed the risk therefore and attendant thereto.
                    18            5.      Plaintiff failed to mitigate his damages, and recovery must be denied or
                    19     reduced accordingly.
                    20            6.      Plaintiff’s Complaint fails to state a claim upon which relief can be granted.
                    21            7.      Defendant says that if plaintiff suffered injuries or damages, as alleged, such
                    22     injuries or damages were caused by persons for whose conduct the defendant was not and is
                    23     not legally responsible.
                    24            8.      Plaintiff’s claims are barred by the applicable statutes of limitation.
                    25            9.      Defendant states that the plaintiff may not recover because of insufficient
                    26     process.
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                     1            10.     Defendant states that the plaintiff may not recover because of insufficient
                     2     service of process.
                     3            11.     Defendant states that the injuries or damages alleged were caused in whole or
                     4     in part by the negligence of the plaintiff.
                     5            12.     Defendant denies the existence of any duty to plaintiff; in any event, it denies
                     6     violating any duty owed to plaintiff, if any duty is found to have existed.
                     7            13.     Plaintiff’s damages, if any, are attributable to conditions, pre-existing or
                     8     otherwise, and said damages are reasonably capable of being apportioned amongst the
                     9     various conditions and the damages caused by this defendant pursuant to Restatement
                    10     (Second) of Torts Section 433A. Plaintiff’s recovery against this defendant for the other
                    11     conditions, pre-existing or otherwise, must be denied.
                    12            14.     Plaintiff’s injuries, if any, are attributable to a pre-existing condition or other
                    13     causes and not any acts or omissions of the defendant, its agents or employees, and,
                    14     therefore, plaintiff’s damages must be apportioned and recovery denied for those damages
                    15     due to causes and conditions for which this defendant is not responsible, pursuant to the
                    16     principles enunciated in Section 433A of the Restatement (Second) of Torts.
                    17            15.     The actions or omissions of others constitute a superseding or intervening
                    18     cause of plaintiff’s injuries and, therefore, this defendant is relieved from liability.
                    19            16.     Plaintiff’s Complaint must be dismissed under the doctrine of misnomer as he
                    20     has failed to identify the correct corporate defendant.
                    21            17.     Plaintiff’s injuries, if any, were due to an act of God or nature or in the nature
                    22     of an accident over which this defendant had no control and, therefore, cannot be held liable.
                    23            18.     As additional affirmative defenses to plaintiff’s Complaint, it is alleged that
                    24     facts may come to light to support any and all of the lawful affirmative defenses. Therefore,
                    25     this defendant hereby alleges the possible defenses of waiver, estoppel, set off, non-joinder
                    26     of indispensable, necessary and proper parties, release, laches, assumption of risk, lack of
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                     1     mutuality, statute of frauds, lack of jurisdiction over the subject matter, lack of jurisdiction
                     2     over the person, res judicata, abatement, insufficiency of process, the doctrine of avoidable
                     3     consequences, accord and satisfaction, improper venue, sudden emergency, unavoidable
                     4     accident, statute of limitations, and/or any other lawful affirmative defense available by law,
                     5     including, but not limited to, any other affirmative defenses set forth in Rules 6 and 8 of the
                     6     Arizona Rules of Civil Procedure.
                     7            19.     Discovery has not yet begun in this matter and new or additional affirmative
                     8     defenses may be discovered. Defendant, therefore, reserves the right to amend this Answer
                     9     to include any additional affirmative defenses set forth in Ariz. R. Civ. P. Rule 8 or 12, or
                    10     A.R.S. 12-561, et seq., if and when they become applicable during the course of continued
                    11     discovery.
                    12            WHEREFORE, having fully answered plaintiff’s Complaint, Defendant Arizona CVS
                    13     Stores, LLC (Improperly pled as CVS Health a/k/a CVS Pharmacy, Inc.), asks that same be
                    14     dismissed, that plaintiff take nothing thereby, that defendant be awarded its attorneys’ fees
                    15     and costs incurred herein, and for such other and further relief as the Court may deem just
                    16     and proper.
                    17            RESPECTFULLY SUBMITTED this 26th day of January, 2017.
                    18
                                                                     RENAUD COOK DRURY MESAROS, PA
                    19
                    20                                               By /s/ Margaret T. McCarthy
                                                                        Margaret T. McCarthy
                    21                                                  One North Central, Suite 900
                                                                        Phoenix, Arizona 85004-4417
                    22                                                 Attorneys for Defendant Arizona CVS Stores,
                                                                       LLC (Improperly pled as CVS Health a/k/a CVS
                    23                                                 Pharmacy, Inc.)
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                     2     of January, 2017.
                     3     A COPY of the foregoing also sent via
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                     8     /s/ L. Bergantino
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                                                                                                 Michael K Jeanes, Clerk of Court
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                     6     Attorneys for Defendant Arizona CVS
                           Stores, LLC (Improperly pled as CVS
                     7     Health a/k/a CVS Pharmacy, Inc.)
                     8                   IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                     9                               IN AND FOR THE COUNTY OF MARICOPA
                    10     CHARLES CROUCH,                                             No. CV2016-055020
                    11                                   Plaintiff,                DEFENDANT ARIZONA CVS
                                                                                  STORES, LLC’S CERTIFICATE
                    12     v.                                                      REGARDING COMPULSORY
                                                                                        ARBITRATION
                    13     CVS HEALTH a/k/a CVS PHARMACY,
                           INC.,                                                     (Assigned to the Honorable
                    14                                                                     John Hannah)
                                                         Defendant.
                    15
                    16              Defendant Arizona CVS Stores, LLC (Improperly pled as CVS Health a/k/a CVS
                    17     Pharmacy, Inc.) (hereinafter “Defendant”) by and through counsel undersigned is without
                    18     sufficient information or knowledge to affirm or deny Plaintiff’s contention that this matter
                    19     is not subject to compulsory arbitration. As discovery proceeds, Defendant reserves the right
                    20     to controvert Plaintiff’s Certificate.
                    21     ///
                    22     ///
                    23     ///
                    24
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                     1            RESPECTFULLY SUBMITTED this 26th day of January, 2017.
                     2                                             RENAUD COOK DRURY MESAROS, PA
                     3
                     4                                             By /s/ Margaret T. McCarthy
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                     7                                               Pharmacy, Inc.)
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                           /s/ L. Bergantino
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                     8                   IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                     9                               IN AND FOR THE COUNTY OF MARICOPA
                    10     CHARLES CROUCH,                                            No. CV2016-055020
                    11                                   Plaintiff,               DEFENDANT ARIZONA CVS
                                                                                       STORES, LLC’S
                    12     v.                                                     DEMAND FOR JURY TRIAL
                    13     CVS HEALTH a/k/a CVS PHARMACY,                           (Assigned to the Honorable
                           INC.,                                                          John Hannah)
                    14
                                                         Defendant.
                    15
                    16             Defendant Arizona CVS Stores, LLC (Improperly pled as CVS Health a/k/a CVS
                    17     Pharmacy, Inc.) hereby demands a trial by jury as to all issues.
                    18             RESPECTFULLY SUBMITTED this 26th day of January, 2017.
                    19
                                                                      RENAUD COOK DRURY MESAROS, PA
                    20
                    21                                                By /s/ Margaret T. McCarthy
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